                                                      Objection Deadline: November 16, 2023


BURNS BAIR LLP
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Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                 Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


       THIRTY-FIFTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
     AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
          AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
             SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023

 Name of Applicant:                               Burns Bair LLP

 Authorized to Provide Professional               Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                               Effective October 29, 2020 pursuant to Order
                                                  dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                  September 1, 2023 – September 30, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,         $182,575.75
 reasonable, and necessary:                       80% of which is $146,060.60
 Amount of Expense Reimbursement sought
                                                  $16,761.44
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)            $162,822.04

This is the thirty-fifth monthly fee statement.
                               PRELIMINARY STATEMENT

       Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this thirty-fifth monthly statement (the “Monthly Statement”)

for the period from September 1, 2023 through September 30, 2023 (the “Statement Period”) for

payment of professional services rendered and reimbursement of expenses incurred during the

Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket No. 129] (the

“Interim Compensation Order”).       Burns Bair requests interim allowance and payment of

compensation in the amount of $146,060.60 (80% of $182,575.75) for fees on account of

reasonable and necessary professional services rendered to the Committee by Burns Bair, and (b)

reimbursement of actual and necessary costs and expenses in the amount of $16,761.44.

       FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

       1.      Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                          Total
                                       Year of      Year of     Hourly                Total
        Name               Title                                          Hours
                                     Partnership   Admission     Rate              Compensation
                                                                          Billed
Timothy Burns             Partner       2008         1991       $975.00   75.40     $73,515.00
Timothy Burns – Travel                                          $487.50   19.20      $9,360.00
Jesse Bair                Partner       2020         2013       $625.00   85.20     $53,250.00
Jesse Bair – Travel                                             $312.50   21.50      $6,718.75
Nathan Kuenzi            Associate      N/A          2020       $420.00   23.10      $9,702.00
Brian Cawley             Associate      N/A          2020       $420.00   69.70     $29,274.00
Brenda Horn-Edwards      Paralegal      N/A          N/A        $360.00    .70        $252.00
Karen Dempski            Paralegal      N/A          N/A        $360.00    1.40       $504.00
                                                               TOTAL:     296.20    $182,575.75




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       2.      The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.

A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

              EXPENSES INCURRED DURING THE STATEMENT PERIOD

       3.      Set forth below is a categorical list of expenses incurred by Burns Bair during the

Statement Period in the course of representing the Committee.

 Date          Description                                                               Amount
 9/11/2023     United Airlines, T. Burns (MSN-EWR Sept. 11- 13)                          $832.40
 9/11/2023     Delta Airlines, J. Bair (MSN-LGA Sept. 11-12)                             $976.40
 9/17/2023     Uber, T. Burns (airport to hotel)                                         $175.78
 9/17/2023     Delta Airlines, J. Bair (MSN-LGA, Sept. 17-21)                            $967.10
 9/17/2023     Hotel, T. Burns (3 nights)                                               $2,181.00
 9/17/2023     Travel meal, T. Burns                                                       $8.73
 9/17/2023     United Airlines, T. Burns (MSN-EWR, Sept. 17- 22)                         $701.95
 9/17/2023     Travel meal, J. Bair                                                       $15.91
 9/17/2023     Hotel, J. Bair (3 nights)                                                $2,181.00
 9/18/2023     Travel meal, T. Burns                                                      $11.90
 9/18/2023     Travel meal, T. Burns                                                       $1.50
 9/18/2023     Travel meal, J. Bair                                                        $9.19
 9/18/2023     Travel meal, J. Bair                                                       $16.28
 9/18/2023     Travel meal, T. Burns                                                       $5.84
 9/18/2023     Taxi, J. Bair and T. Burns                                                 $62.71
 9/18/2023     Travel meal, T. Burns                                                       $2.62
 9/19/2023     Travel meal, J. Bair                                                       $18.32
 9/19/2023     Travel meal, T. Burns                                                      $18.84
 9/19/2023     Travel meal, J. Bair                                                       $20.71
 9/19/2023     Travel meal, J. Bair                                                        $5.63
 9/19/2023     Travel meal, T. Burns                                                       $9.79
 9/19/2023     Travel meal, T. Burns                                                       $4.12
 9/19/2023     Travel meal, T. Burns                                                      $12.00
 9/19/2023     Airport parking, J. Bair                                                   $28.00
 9/19/2023     Uber, T. Burns (mediation to airport)                                      $97.84
 9/19/2023     Uber, J. Bair (mediation to airport)                                      $157.29
 9/20/2023     Delta Airlines Wi-Fi Onboard, J. Bair                                      $15.95
 9/20/2023     Uber, T. Burns                                                            $117.40


                                                  3
 9/25/2023     Delta, J. Bair (MSN-LGA, Sept. 25-28)                                  $1,217.80
 9/25/2023     Hotel, J. Bair (3 nights)                                              $2,409.00
 9/25/2023     Taxi, J. Bair (airport to hotel)                                        $93.35
 9/25/2023     United Airlines, T. Burns (MSN-EWR, Sept. 25- 28)                      $1,049.80
 9/25/2023     Hotel, T. Burns (3 nights)                                             $2,409.00
 9/25/2023     Travel meal, T. Burns                                                    $4.49
 9/25/2023     Travel meal, J. Bair                                                     $22.76
 9/25/2023     Uber, T. Burns (airport to hotel)                                       $140.84
 9/25/2023     Delta Airlines Wi-Fi Onboard, J. Bair                                    $4.95
 9/26/2023     Travel meal, J. Bair                                                     $20.90
 9/26/2023     Travel meal, J. Bair                                                     $27.71
 9/26/2023     Travel meal, T. Burns                                                    $19.54
 9/26/2023     Uber, J. Bair and T. Burns (hotel to courthouse)                         $31.63
 9/26/2023     FedEx pkg. to T. Burns (binder)                                         $159.42
 9/27/2023     Airport parking, T. Burns                                                $30.00
 9/27/2023     Travel meal, T. Burns                                                    $26.72
 9/27/2023     Uber, T. Burns (hotel to airport)                                       $173.84
 9/27/2023     Travel meal, T. Burns                                                    $24.36
 9/27/2023     Uber, J. Bair (hotel to airport)                                        $167.68
 9/27/2023     Airport parking, J. Bair                                                 $30.00
 9/27/2023     Travel meal, J. Bair                                                     $25.50
 9/28/2023     Delta Airlines, Wi-Fi Onboard, J. Bair                                   $15.95
                                                                        TOTAL:       $16,761.44

                            NOTICE AND OBJECTION PROCEDURES

       4.      No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.



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       5.      Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by November 16, 2023 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

       6.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 80% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.



Dated: October 31, 2023                          BURNS BAIR LLP

                                                  /s/ Timothy W. Burns                         .




                                                 Timothy W. Burns, Esq. (admitted pro hac vice)
                                                 Jesse J. Bair, Esq. (admitted pro hac vice)
                                                 10 E. Doty St., Suite 600
                                                 Madison, WI 53703-3392
                                                 Telephone: (608) 286-2808
                                                 Email: tburns@burnsbair.com
                                                 Email: jbair@burnsbair.com

                                                 Special Insurance Counsel to the Official
                                                 Committee of Unsecured Creditors of The Roman
                                                 Catholic Diocese of Rockville Centre, New York




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EXHIBIT A
                                    10 E. Doty St., Suite 600
                                  Madison, Wisconsin 53703-3392
                                          608-286-2302
                                       www.BurnsBair.com

The Official Committee of Unsecured Creditors of                        Issue Date :        10/26/2023
The Roman Catholic Diocese of Rockville Centre
                                                                                 Bill # :       01265



Matter: Insurance

                          PROFESSIONAL SERVICES RENDERED


Date      Timekeeper          Narrative                                          Hours        Amount
9/1/2023 Brian Cawley         Continue analyzing Camden Plan opinion in            2.70      $1,134.00
                              connection with DRVC case (1.3); analyze
                              Camden 9019 opinion in connection with
                              DRVC case (1.4);
9/1/2023 Jesse Bair           Conference with T. Burns re case                     0.40        $250.00
                              developments and projects (.4);
9/1/2023 Timothy Burns        Review and revise motion for relief from stay in     2.90      $2,827.50
                              light of J. Stang's comments (1.3); participate
                              in call with state court counsel re same (.4);
                              review and consider changes re motion for
                              partial summary judgment on LMI/Interstate
                              consent to settle issue (.8); participate in
                              conference with J. Bair re case insurance
                              developments and projects (.4);
9/1/2023 Brian Cawley         Correspondence with T. Burns and J. Bair             0.60        $252.00
                              regarding Committee joinder and insurance
                              motions for relief from stay (.3); review co-
                              counsel comments on the Committee's lift stay
                              joinder (.3);
9/1/2023 Nathan Kuenzi        Research deliberative process privilege and          3.00      $1,260.00
                              other potential governmental privileges in
                              connection with Arrowood 2004 motion (3.0);
9/1/2023 Nathan Kuenzi        Draft email memorandum on deliberative               2.80      $1,176.00
                              process privilege and related privileges for T.
                              Burns in connection with Arrowood 2004
                              motion (2.8);
9/1/2023 Jesse Bair           Brief review re draft partial summary judgment       0.30        $187.50
                              motions against LMI and Interstate re lack of
                              consent to settle provisions (.2);
                              correspondence with PSZJ re same (.1):
9/2/2023 Timothy Burns   Continue reviewing and revising insurance             4.20   $4,095.00
                         motion for relief from stay in light of J. Stang's
                         comments (4.1); correspondence with J. Bair
                         re same (.1) ;
9/2/2023 Jesse Bair      Correspondence with T. Burns re motion to lift        0.10     $62.50
                         the stay to send insurance demands (.1);
9/3/2023 Brian Cawley    Analyze additional comments from PSZJ re              0.20     $84.00
                         the Committee's lift stay joinder (.2);
9/3/2023 Jesse Bair      Correspondence with B. Cawley and T. Burns            0.10     $62.50
                         re motion to lift stay revisions (.1);
9/3/2023 Timothy Burns   Finalize draft of the Committee's motion for          2.20   $2,145.00
                         relief from stay joinder (2.2);
9/3/2023 Brian Cawley    Correspondence with J. Bair regarding                 0.20     $84.00
                         Committee lift stay joinder, Burns declaration,
                         and related exhibits (.2);
9/4/2023 Jesse Bair      Correspondence with T. Burns re Arrowood              0.10     $62.50
                         Rule 2004 hearing preparations (.1);
9/4/2023 Timothy Burns   Analyze information regarding the Diocese             0.40    $390.00
                         Plan Term Sheet and Plan Support Agreement
                         (.4);
9/4/2023 Brian Cawley    Revise and edit the Committee's insurance lift        2.80   $1,176.00
                         stay joinder (1.6); revise and edit Burns
                         declaration to same (.5); identify and prepare
                         exhibits to same (.7);
9/4/2023 Nathan Kuenzi   Research and identify relevant case law in            1.50    $630.00
                         connection with upcoming hearing on the
                         Committee's Arrowood Rule 2004 motion
                         (1.5);
9/4/2023 Timothy Burns   Review memo re deliberative process                   1.10   $1,072.50
                         privilege in connection with Arrowood 2004
                         motion (.4); review agenda for September 6
                         hearing (.1); review Debtor's reply in support of
                         16th omnibus claims objection (.3); review
                         Evanston's response to the Committee's
                         Section 3420 notice letter (.1); review and
                         analysis of notes re Interstate counter and
                         potential response to same (.2);
9/4/2023 Nathan Kuenzi   Correspondence with T. Burns re Arrowood              0.10     $42.00
                         guarantee fund issues (.1);
9/5/2023 Jesse Bair      Review and edit current draft of the                  1.00    $625.00
                         Committee's joinder and memorandum of law
                         in support of certain survivors' motion to lift the
                         stay (.4); review and edit Burns declaration
                         and related exhibits (.2); correspondence with
                         B. Cawley re additional edits needed to same
                         (.2); conference with B. Cawley re same (.2);
9/5/2023 Brian Cawley    Participate in conference with J. Bair re edits    1.90   $798.00
                         needed to the Burns lift stay declaration (.2);
                         analyze discovery status letters in the
                         insurance adversary proceedings re
                         representations re scope of Diocesan
                         document productions in connection with lift
                         stay issues (.9); create discovery status letter
                         exhibits for Burns declaration (.3); update
                         Burns declaration to reflect new exhibits (.4);
                         correspondence with J. Bair re revised Burns
                         declaration (.1);
9/5/2023 Brian Cawley    Draft proposed orders granting the individual      0.50   $210.00
                         motions to lift stay to send insurance demands
                         (.5);
9/5/2023 Nathan Kuenzi   Analyze Burns Bair interim application and         0.80   $336.00
                         related materials in preparation for upcoming
                         fee hearing (.8);
9/5/2023 Jesse Bair      Prepare for Committee meeting (.2);                1.50   $937.50
                         participate in Committee meeting for
                         insurance purposes re case strategy, status,
                         and insurance initiatives (1.3);
9/5/2023 Brian Cawley    Revise and edit draft motion to lift stay,         0.80   $336.00
                         proposed orders, and insurance demand
                         letters for each state court counsel group (.6);
                         correspond with J. Bair re same (.2);
9/5/2023 Jesse Bair      Identify relevant materials for use during         0.40   $250.00
                         upcoming fee hearing (.2); provide instructions
                         to T. Burns and N. Kuenzi re same and hearing
                         issues (.2);
9/5/2023 Jesse Bair      Review most recent version of the lift stay        0.80   $500.00
                         motions in order to send insurance demands
                         letters (.3); various correspondence with
                         numerous state court counsel re same (.4);
                         correspondence with K. Dine and B. Michael
                         re hearing date and briefing schedule re same
                         (.1);
9/5/2023 Jesse Bair      Brief review re Arrowood's objection to the        0.20   $125.00
                         Committee's Rule 2004 motion (.2);
9/5/2023 Brian Cawley    Finalize motions for relief from stay, the         1.80   $756.00
                         Committee's joinder re same, Burns
                         declaration, related exhibits, and insurance
                         demand letters (1.6); correspondence with J.
                         Bair re revised versions of same (.2):
9/5/2023 Brian Cawley    Revise and edit Burns lift stay declaration to     0.60   $252.00
                         incorporate partner edits (.2); review case
                         materials for potential additional exhibits to
                         same (.3); correspond with J. Bair regarding
                         revised Burns declaration and exhibits (.1);
9/5/2023 Jesse Bair      Brief review re current drafts of motions for        0.40    $250.00
                         partial summary judgment against LMI and
                         Interstate re lack of consent to settle provisions
                         (.2); correspondence with state court counsel
                         re same (.2);
9/5/2023 Brian Cawley    Analyze recent filings in Delaware mandamus          0.90    $378.00
                         insurance action (.6); draft summary of recent
                         Arrowood Delaware filings for T. Burns and J.
                         Bair (.3);
9/6/2023 Jesse Bair      Review updated Claro valuation and insurance         0.30    $187.50
                         allocation figures in connection with upcoming
                         mediation sessions (.3);
9/6/2023 Jesse Bair      Conference with N. Kuenzi re outcome of              0.10     $62.50
                         9/6/23 omnibus hearing (.1);
9/6/2023 Jesse Bair      Analyze Arrowood's objection to the                  1.20    $750.00
                         Committee's 2004 Motion and begin drafting
                         outline of the Committee reply brief (1.2);
9/6/2023 Brian Cawley    Analyze Second Circuit case law re the               2.90   $1,218.00
                         pending proceeding rule and related doctrines
                         in connection with drafting the Committee's
                         reply to Arrowood's 2004 opposition (2.2);
                         draft summary of research for J. Bair (.5);
                         discuss research with J. Bair (.2);
9/6/2023 Nathan Kuenzi   Participate in conference with J. Bair re            0.10     $42.00
                         outcome of 9/6/23 omnibus hearing (.1);
9/6/2023 Jesse Bair      Correspondence with B. Michael and state             0.10     $62.50
                         court counsel re call to discuss lift stay motion
                         issues (.1);
9/6/2023 Jesse Bair      Answer questions from state court counsel re         0.20    $125.00
                         proposed insurance demand letters (.2);
9/6/2023 Jesse Bair      Analysis re case law research needed in              0.70    $437.50
                         connection with responding to Arrowood's
                         objection to the Committee's 2004 motion (.2);
                         provide instructions to B. Cawley re same (.2);
                         analysis re B. Cawley research results re
                         same (.2); correspondence with B. Cawley re
                         supplemental research needed in connection
                         with the Committee's Rule 2004 reply brief (.1);
9/6/2023 Nathan Kuenzi   Continue analyzing BB fee materials in               1.40    $588.00
                         preparation for upcoming fee hearing (1.4);
9/6/2023 Jesse Bair      Correspondence with K. Dine re hearing date          0.10     $62.50
                         issues in connection with forthcoming motions
                         to lift the stay in order to send insurance
                         demands (.1);
9/6/2023 Jesse Bair      Preliminary review re the Diocese's proposed         0.20    $125.00
                         settlement term sheet (.1); correspondence
                         with PSZJ re call with Diocese to discuss
                         same (.1);
9/6/2023 Brian Cawley    Research discoverability of reserve                  3.20   $1,344.00
                         information, claim file information, other
                         insured settlements, and related issues in
                         connection with the Committee's reply to
                         Arrowood's Rule 2004 objection (2.4); draft
                         summary of research and send to J. Bair (.8);
9/6/2023 Jesse Bair      Analyze the Diocese of Camden order denying          1.00    $625.00
                         plan confirmation in connection with ongoing
                         plan negotiations in the DRVC case (1.0);
9/6/2023 Nathan Kuenzi   Participate in conference with J. Bair re            0.30    $126.00
                         upcoming omnibus hearing (.1); continue
                         preparing for same (.2);
9/6/2023 Jesse Bair      Conference with N. Kuenzi re preparations for        0.10     $62.50
                         9/6/23 omnibus hearing (.1);
9/6/2023 Nathan Kuenzi   Draft summary of outcome of 9/6/23 fee and           0.20     $84.00
                         omnibus hearing (.2);
9/6/2023 Timothy Burns   Review correspondence with BB and state              0.50    $487.50
                         court counsel re insurance motion for relief
                         from stay (.2); review N. Kuenzi's summary of
                         September 6 hearing outcome (.1); review
                         notice re amended hearing re derivative
                         standing motion (.1); review correspondence
                         with BB and PSZJ re motion for relief issues
                         (.1);
9/6/2023 Nathan Kuenzi   Participate in September 6 fee and omnibus           1.50    $630.00
                         hearing (1.5);
9/6/2023 Brian Cawley    Review correspondence from state court               0.20     $84.00
                         counsel re motion for relief from stay issues
                         (.2);
9/7/2023 Jesse Bair      Review correspondence with K. Dine and the           0.10     $62.50
                         court re motion to lift stay hearing date (.1);
9/7/2023 Jesse Bair      Prepare for call with certain state court counsel    0.60    $375.00
                         re case insurance initiatives (.1); participate in
                         call with certain state court counsel re same
                         and upcoming motion to lift stay filing (.5);
9/7/2023 Jesse Bair      Participate in initial team strategy meeting with    0.50    $312.50
                         PSZJ team for insurance purposes re
                         upcoming meeting with the Diocese re draft
                         settlement term sheet and upcoming
                         mediation session (.2); participate in follow-up
                         team strategy meeting with PSZJ for insurance
                         purposes re same (.3);
9/7/2023 Brian Cawley    Correspondence with state court counsel re           0.20     $84.00
                         proposed orders granting motions to lift the
                         stay (.2);
9/7/2023 Brian Cawley    Prepare exhibits to the Committee's Rule             0.20     $84.00
                         2004 reply brief (.2);
9/7/2023 Jesse Bair      Review correspondence from the mediators re          0.20    $125.00
                         Lexington counter (.1); correspondence with T.
                         Burns re potential response to same (.1);
9/7/2023 Jesse Bair      Participate in meeting with the Diocese re the       1.10    $687.50
                         Diocese's proposed settlement term sheet
                         (1.1);
9/7/2023 Jesse Bair      Conference with T. Burns re insurance strategy       0.10     $62.50
                         for upcoming mediation sessions (.1);
9/7/2023 Brian Cawley    Review and edit the motions to lift stay to          0.30    $126.00
                         incorporate new hearing and objection
                         deadlines (.3);
9/7/2023 Brian Cawley    Prepare for call with certain state court counsel    0.70    $294.00
                         re case insurance initiatives (.2); participate in
                         call with certain state court counsel re same
                         and upcoming motion to lift stay filing (.5);
9/7/2023 Jesse Bair      Correspondence with B. Cawley re additional          0.10     $62.50
                         research needed in connection with the
                         Committee's Rule 2004 reply brief (.1);
9/7/2023 Jesse Bair      Correspondence with B. Cawley re additional          0.10     $62.50
                         edit needed to the motions to lift stay (.1);
9/7/2023 Nathan Kuenzi   Analyze additional issues relating to potential      1.00    $420.00
                         privilege arguments Arrowood may raise in
                         connection with the Committee's Rule 2004
                         motion (.8); correspondence with J. Bair re
                         same (.2);
9/7/2023 Brian Cawley    Research and analyze case law re examples            2.90   $1,218.00
                         of Rule 2004 examinations of insurance
                         companies and scope of same (2.5) ;draft
                         summary of case law for J. Bair (.4);
9/7/2023 Jesse Bair      Review K. Dine's suggested edits to the              0.20    $125.00
                         insurance demand letters (.1); correspondence
                         with B. Cawley re same (.1);
9/7/2023 Jesse Bair      Draft the Committee's reply brief in support of      5.10   $3,187.50
                         its Rule 2004 motion (5.1);
9/7/2023 Jesse Bair      Analyze case law research in connection with         0.70    $437.50
                         the Committee's Rule 2004 reply brief (.7);
9/7/2023 Brian Cawley    Correspond with J. Bair regarding revised            0.20     $84.00
                         language for insurance demand letters (.2);
9/7/2023 Jesse Bair      Draft Bair declaration and related exhibit in        0.30    $187.50
                         support of the Committee's Rule 2004 reply
                         brief (.3);
9/7/2023 Brian Cawley    Correspond with each state court counsel             1.00    $420.00
                         group re revised motions for relief from stay
                         (1.0);
9/7/2023 Nathan Kuenzi   Analyze Rule 2004 materials, exhibits, and           2.30    $966.00
                         relevant case law to identify key documents for
                         use in preparing for Rule 2004 hearing (2.3);
9/8/2023 Nathan Kuenzi   Conference with T. Burns re Guarantee Fund           0.20     $84.00
                         issues in connection with ongoing Plan
                         negotiations (.2);
9/8/2023 Jesse Bair      Edit and finalize the Committee's Rule 2004          0.60    $375.00
                         reply brief, Bair declaration, and related
                         exhibits (.5); correspondence with PSZJ re
                         same (.1);
9/8/2023 Jesse Bair      Conference with N. Kuenzi re Guarantee Fund        0.50   $312.50
                         issues in connection with ongoing Plan
                         negotiations (.2); provide instructions to N.
                         Kuenzi and B. Cawley re additional Guarantee
                         Fund research needed in connection with
                         ongoing Plan negotiations (.2); follow-up
                         correspondence re same (.1);
9/8/2023 Jesse Bair      Review and respond to questions from state         0.20   $125.00
                         court counsel re lift stay motion and insurance
                         demand letters (.2);
9/8/2023 Jesse Bair      Participate in call with T. Burns re outcome of    0.20   $125.00
                         meeting with Jones Day re the Diocese's
                         proposed settlement term sheet (.2);
9/8/2023 Karen Dempski   Prepare hearing prep binders for Rule 2004         1.40   $504.00
                         hearing against Arrowood (1.4);
9/8/2023 Jesse Bair      Review and incorporate K. Dine's suggested         0.20   $125.00
                         edits into the Committee's Rule 2004 reply
                         brief (.2);
9/8/2023 Jesse Bair      Participate in call with state court counsel re    0.10    $62.50
                         potential Lexington response (.1);
9/8/2023 Brian Cawley    Research additional Guarantee Fund issues in       1.70   $714.00
                         connection with ongoing Plan negotiations,
                         including potential set off arguments and per
                         claim recovery (1.7);
9/8/2023 Brian Cawley    Revise and edit the Committee's Rule 2004          1.50   $630.00
                         reply brief against Arrowood (1.5);
9/8/2023 Nathan Kuenzi   Participate in conference with J. Bair and B.      0.20    $84.00
                         Cawley re additional Guarantee Fund research
                         needed in connection with ongoing Plan
                         negotiations (.2);
9/8/2023 Brian Cawley    Discuss guaranty fund research project with J.     0.20    $84.00
                         Bair and N. Kuenzi (.2);
9/8/2023 Jesse Bair      Correspondence with B. Michael re potential        0.10    $62.50
                         response to Lexington's recent counter (.1);
9/8/2023 Nathan Kuenzi   Analyze necessity of Arrowood claim                1.60   $672.00
                         segregation in Plan in connection with
                         recovery against New York Guarantee Fund
                         (1.4); draft email memorandum for J. Bair re
                         same (.2);
9/10/2023 Jesse Bair     Analysis re state court counsel's suggested        0.50   $312.50
                         edits to the motion to lift stay papers (.3);
                         correspondence with state court counsel re
                         same (.2);
9/10/2023 Brian Cawley   Implement partner edits into Burns declaration     1.20   $504.00
                         and Committee lift stay joinder (.5);
                         correspondence with J. Bair re revised lift stay
                         materials (.2); correspond with each state
                         court counsel group re revised lift stay papers
                         (.5);
9/10/2023 Jesse Bair     Review proposed orders granting certain            0.10    $62.50
                         survivors' motions to lift the stay (.1);
9/10/2023 Jesse Bair      Review and edit the Committee's joinder and           0.20   $125.00
                          memorandum of law in support of certain
                          survivors' motion to lift the stay (.2);
9/10/2023 Jesse Bair      Correspondence with B. Cawley and T. Burns            0.20   $125.00
                          re additional edits needed to finalize the
                          Committee's motion to lift stay papers (.2);
9/10/2023 Jesse Bair      Review and edit Burns Declaration and related         0.20   $125.00
                          exhibits in support of certain survivors' motion
                          to lift the stay (.2);
9/11/2023 Jesse Bair      Review Settlement Conference Order for                0.10    $62.50
                          upcoming mediations (.1);
9/11/2023 Jesse Bair      Review and edit final version of the Committee        0.50   $312.50
                          lift stay joinder, Burns declaration, and related
                          exhibits (.2); correspondence with PSZJ and
                          B. Cawley re same, filing, and notice of
                          hearing (.3);
9/11/2023 Timothy Burns   Review and respond to correspondence re               0.40   $390.00
                          adjournment of Rule 2004 hearing with PSZJ,
                          J. Bair, and Arrowood (.2); participate in call
                          with J. Bair re same (.1); participate in call with
                          state court counsel re same (.1);
9/11/2023 Jesse Bair      Participate in call with particular state court       0.40   $250.00
                          counsel re lift stay motion and insurance
                          demand letters (.4);
9/11/2023 Jesse Bair      Participate in call with different state court        0.40   $250.00
                          counsel re lift stay motions and insurance
                          demand letters (.4);
9/11/2023 Jesse Bair      Correspondence with PSZJ re logistics for             0.10    $62.50
                          upcoming mediation sessions (.1);
9/11/2023 Jesse Bair      Review Committee correspondence with the              0.20   $125.00
                          mediators re Plan and settlement negotiations
                          (.1); review correspondence with state court
                          counsel re same (.1);
9/11/2023 Brian Cawley    Correspond with PSZJ regarding status of              0.60   $252.00
                          Committee lift stay joinder filing (.2);
                          correspond with J. Bair regarding status of
                          state court counsel lift stay motions and
                          Committee joinder filings (.2); correspond with
                          state court counsel regarding lift stay motion
                          filings (.2);
9/12/2023 Jesse Bair      Analysis re insurer exposures in preparation          0.10    $62.50
                          for upcoming mediation session (.1):
9/12/2023 Jesse Bair      Analyze letter from the Diocese re the                0.20   $125.00
                          Committee's and state court counsel's lift stay
                          motions (.2);
9/12/2023 Jesse Bair      Correspondence with T. Burns re potential             0.10    $62.50
                          Interstate and Lexington counters (.1);
9/12/2023 Jesse Bair      Analysis re potential additional insurance            0.30   $187.50
                          demand letters (.2); correspondence with state
                          court counsel re same (.1);
9/12/2023 Jesse Bair      Participate in call with T. Burns re outcome of      0.20    $125.00
                          call with state court counsel re lift stay motions
                          (.2);
9/12/2023 Brian Cawley    Continue researching additional Guarantee            2.30    $966.00
                          Fund issues in connection with ongoing Plan
                          negotiations, including potential set off
                          arguments and per claim recovery (2.3);
9/12/2023 Brian Cawley    Analyze potential new insurance demand letter        0.90    $378.00
                          claims (.6); draft email to J. Bair summarizing
                          claim valuation and coverage for same (.3);
9/12/2023 Jesse Bair      Correspond with PSZJ re potential consent to         0.10     $62.50
                          settle partial summary judgment motion (.1);
9/12/2023 Timothy Burns   Review and respond to correspondence with            1.40   $1,365.00
                          PSZJ re upcoming mediation session (.2);
                          review correspondence from BB team re Rule
                          2004 hearing (.1); brief review of emails and
                          filings re motions for relief from stay (.2);
                          review correspondence from PSZJ to
                          mediators and related emails from state court
                          counsel to Committee professionals re same
                          (.2); correspondence with J. Bair re Interstate
                          and Lexington counters (.1); participate in call
                          with J. Bair re outcome of call with state court
                          counsel re relief from stay motions (.2); review
                          J. Bair correspondence re motions for partial
                          summary judgment on consent to settle issue
                          (.1); review correspondence with J. Bair and
                          PSZJ re Interstate and Lexington counters (.1);
                          review reply in support of motion to reconsider
                          withdrawal of the reference (.2);
9/13/2023 Jesse Bair      Analysis re Debtor request for meet and confer       0.30    $187.50
                          re insurance demand lift stay motion (.1);
                          correspondence with B. Michael re same, new
                          lift stay hearing date, and insurer counters (.2);
9/13/2023 Brian Cawley    Complete additional research re Guarantee            4.40   $1,848.00
                          Fund issues in connection with ongoing Plan
                          negotiations, including potential set off
                          arguments and per claim recovery (3.4); draft
                          summary of research for J. Bair (1.0);
9/14/2023 Jesse Bair      Correspondence with B. Michael re revised            0.10     $62.50
                          hearing date on the motion to lift stay (.1);
9/14/2023 Jesse Bair      Review correspondence with Jones Day and             0.10     $62.50
                          B. Michael re motion to lift stay meet and
                          confer (.1);
9/14/2023 Jesse Bair      Review B. Michael summary re outcome of              0.40    $250.00
                          mediation session with Debtor (.1); review T.
                          Burns and I. Nasatir correspondence re same
                          (.1); draft responses to B. Michael question re
                          insurance issues raised during session (.2);
9/14/2023 Timothy Burns   Review, analyze, and respond to PSZJ                1.20   $1,170.00
                          mediation update email re session with the
                          Debtor and mediators (.5); additional
                          correspondence with PSZJ and J. Bair re
                          same (.3): review correspondence with PSZJ
                          and the Debtor re meet and confer (.1); review
                          correspondence with PSZJ and the Court re
                          motions for relief from stay hearing (.1); review
                          correspondence from LMI re motions for relief
                          from stay hearing (.1); review K. Dine
                          correspondence re mediation meeting (.1);
9/14/2023 Timothy Burns   Correspondence with J. Bair re case status          0.10     $97.50
                          and ongoing insurance projects (.1);
9/15/2023 Jesse Bair      Prepare for motion to lift stay meet and confer     0.90    $562.50
                          with the Diocese (.1); participate in motion to
                          lift stay meet and confer with the Diocese (.6);
                          participate in post-meeting call with T. Burns re
                          outcome of same and next-steps (.2);
9/15/2023 Jesse Bair      Participate in conference with B. Cawley re         0.40    $250.00
                          case status, upcoming mediation, and
                          research projects needed re motion to lift stay
                          issues (.4);
9/15/2023 Timothy Burns   Participate in call with J. Bair re upcoming        0.60    $585.00
                          meet and confer with the Diocese and
                          insurance mediation prep and strategy (.6);
9/15/2023 Timothy Burns   Prepare for motion to lift stay meet and confer     1.20   $1,170.00
                          with the Diocese (.4); participate in motion to
                          lift stay meet and confer with the Diocese (.6);
                          participate in post-meeting call with J. Bair re
                          outcome of same and next-steps (.2);
9/15/2023 Jesse Bair      Review and respond to correspondence with           0.20    $125.00
                          LMI, B. Michael, and the Court re motion to lift
                          stay hearing issues (.2);
9/15/2023 Jesse Bair      Participate in call with T. Burns re upcoming       0.60    $375.00
                          meet and confer with the Diocese and
                          insurance mediation prep and strategy (.6);
9/15/2023 Brian Cawley    Participate in conference with J. Bair re case      1.10    $462.00
                          status, upcoming mediation, and research
                          projects needed re motion to lift stay issues
                          (.4); analyze case law previously cited by
                          insurers purportedly supporting the proposition
                          that insurance demands implicate the
                          automatic stay (.7);
9/15/2023 Jesse Bair      Review monthly Diocesan PSIP information            0.10     $62.50
                          (.1);
9/15/2023 Jesse Bair      Identify relevant materials and provide             0.20    $125.00
                          instructions to K. Dempski re preparing
                          insurance mediation prep binders (.2);
9/15/2023 Jesse Bair      Review Order regarding mediation logistics          0.10     $62.50
                          (.1);
9/15/2023 Jesse Bair          Analysis re Judge Glenn's parish preliminary       0.40    $250.00
                              injunction ruling and case law re automatic stay
                              issues in connection with upcoming meet and
                              confer with the Diocese (.4);
9/17/2023 Timothy Burns       Travel to New York from Madison for mediation      5.40   $2,632.50
                              [billed at 1/2 travel rate] (5.4);
9/17/2023 Jesse Bair          Travel to New York from Madison for mediation      6.10   $1,906.25
                              [billed at 1/2 travel rate] (6.1);
9/17/2023 Timothy Burns       Prepare for mediation by reviewing insurance       0.80    $780.00
                              binder materials (.8);
9/18/2023 Timothy Burns       Participate in conference with J. Bair re          9.70   $9,457.50
                              mediation preparation and insurance strategy
                              (.4); participate in full day mediation session
                              (9.1); participate in post-mediation discussion
                              re mediation strategy with J. Bair (.2);
9/18/2023 Jesse Bair          Provide instructions to B. Cawley re edits         0.10     $62.50
                              needed to draft insurance demands (.1);
9/18/2023 Jesse Bair          Participate in full-day mediation session (9.1);   9.30   $5,812.50
                              participate in post-mediation discussion re
                              mediation strategy with T. Burns (.2);
9/18/2023 Brian Cawley        Prepare materials for T. Burns review re           0.50    $210.00
                              derivative standing motion and forthcoming
                              objection (.5);
9/18/2023 Brian Cawley        Prepare for mediation session (.3); participate    5.50   $2,310.00
                              in portion of mediation session via Zoom (4.7);
                              summarize notes from mediation for partner
                              review (.5);
9/18/2023 Brenda Horn-Edwards Draft BB monthly fee statement (.6); generate      0.70    $252.00
                              and edit Exhibit A to same (.1);
9/18/2023 Jesse Bair          Participate in conference with T. Burns re         0.40    $250.00
                              mediation preparation and insurance strategy
                              (.4);
9/18/2023 Brian Cawley        Draft additional insurance demand letter (.9);     1.60    $672.00
                              draft new language for insurance demand
                              template (.2); update prior insurance demands
                              with new language (.3); correspondence with J.
                              Bair re revised insurance demand letters (.2);
9/19/2023 Timothy Burns       Participate in full-day mediation session (8.7);   8.70   $8,482.50
9/19/2023 Jesse Bair          Return travel to Madison from New York             5.60   $1,750.00
                              mediation [billed at 1/2 travel rate] (5.6);
9/19/2023 Brian Cawley        Continue revising insurance demand letters         1.60    $672.00
                              (1.6);
9/19/2023 Timothy Burns       Begin preparing for Section 349 derivative         1.60   $1,560.00
                              standing hearing, including review of Camden
                              9019 decision and objections to the
                              Committee's motion for derivative standing
                              (1.6);
9/19/2023 Brian Cawley        Analyze Diocese Objection to Committee             2.00    $840.00
                              Section 349 derivative standing motion (.5);
                              research case law relied upon by Diocese
                              (1.5);
9/19/2023 Timothy Burns   Return travel to Madison from New York              4.60   $2,242.50
                          mediation [billed at 1/2 travel rate] (4.6);
9/19/2023 Jesse Bair      Participate in second day of mediation              8.70   $5,437.50
                          session (8.7);
9/19/2023 Brian Cawley    Participate in portion of day 2 of mediation        4.20   $1,764.00
                          session via Zoom (3.8); summarize mediation
                          notes for partner review (.4);
9/20/2023 Brian Cawley    Research reliance requirement under Section         3.20   $1,344.00
                          349 (2.5); draft summary of research for T.
                          Burns and J. Bair (.7);
9/20/2023 Jesse Bair      Participate in call with T. Burns re motions for    0.20    $125.00
                          partial summary judgment drafts (.2);
9/20/2023 Jesse Bair      Participate in conference with B. Cawley re         0.40    $250.00
                          insurance next-steps and ongoing projects (.2);
                          participate in additional conference with B.
                          Cawley re additional research needed in
                          connection with Committee derivative standing
                          reply brief (.2);
9/20/2023 Jesse Bair      Participate in call with T. Burns re case           0.40    $250.00
                          insurance strategy, briefing, and next-steps re
                          same (.4);
9/20/2023 Timothy Burns   Participate in call with J. Bair re case            3.50   $3,412.50
                          insurance strategy, briefing, and next-steps re
                          same (.4); review briefing and outline key
                          arguments re the Committee's Section 349
                          reply brief (2.3); participate in call with state
                          court counsel re mediation (.2); review B.
                          Cawley's research summary re reliance issue
                          re section 349 claims (.2); participate in call
                          with J. Bair re draft motions for partial
                          summary judgment on consent to settle issue
                          (.2); review J. Bair correspondence to Diocese
                          re same (.1); review correspondence with J.
                          Bair and the Diocese re derivative standing
                          motion (.1);
9/20/2023 Jesse Bair      Analysis re logistics for upcoming insurance        0.10     $62.50
                          hearing and mediation sessions (.1);
9/20/2023 Jesse Bair      Review T. Burns' correspondence re key              0.30    $187.50
                          thoughts re responding to insurer and Diocese
                          Section 349 derivative standing objection (.3);
9/20/2023 Timothy Burns   Review correspondence with PSZJ and J. Bair         0.40    $390.00
                          re Debtor's Plan concerns (.2); participate in
                          call with J. Bair re same (.2);
9/20/2023 Brian Cawley    Discuss mediation outcome and next steps            0.20     $84.00
                          with J. Bair (.2);
9/20/2023 Brian Cawley    Research standing/ripeness issues for               4.40   $1,848.00
                          injunctive relief under Section 349 and other
                          claims (3.4); draft summary of research for J.
                          Bair in connection with the Committee's
                          Section 349 derivative standing reply brief
                          (1.0);
9/20/2023 Jesse Bair      Participate in additional conference with T.     0.20    $125.00
                          Burns re insurance Plan issues (.2);
9/20/2023 Jesse Bair      Begin drafting the Committee's Section 349       1.00    $625.00
                          derivative standing reply brief (1.0);
9/20/2023 Jesse Bair      Review correspondence from the Diocese re        0.20    $125.00
                          insurance Plan issues (.1); correspondence
                          with PSZJ and T. Burns re same (.1);
9/20/2023 Jesse Bair      Analyze the Diocese's response to the            0.80    $500.00
                          Committee's Section 349 derivative standing
                          motion (.4); draft correspondence to the
                          Diocese re same and potential resolution of
                          motion (.4);
9/20/2023 Jesse Bair      Review and edit draft motions for partial        0.70    $437.50
                          summary judgment re consent to settle issue
                          against LMI and Interstate (.4); draft
                          correspondence to Diocese re demand to file
                          same (.2); correspondence with PSZJ re same
                          (.1);
9/20/2023 Nathan Kuenzi   Prepare for conference with J. Bair (.1);        0.30    $126.00
                          participate in conference with J. Bair re
                          research needed re insurer administrative
                          claim arguments in connection with the
                          Committee's Section 349 derivative standing
                          motion (.2);
9/20/2023 Nathan Kuenzi   Research case law re the insurers'               1.00    $420.00
                          administrative claim argument in connection
                          with the Committee's Section 349 derivative
                          standing motion (1.0);
9/20/2023 Jesse Bair      Provide instructions to N. Kuenzi re research    0.20    $125.00
                          needed re insurer administrative claim
                          arguments (.2);
9/20/2023 Jesse Bair      Analyze the insurers' objection to the           0.70    $437.50
                          Committee's Section 349 derivative standing
                          motion (.7);
9/21/2023 Brian Cawley    Review and edit the Committee's Section 349      1.80    $756.00
                          derivative standing reply brief (1.8);
9/21/2023 Jesse Bair      Continue drafting the Committee's Section        6.20   $3,875.00
                          349 derivative standing reply brief (5.9);
                          correspondence with K. Dine re suggested
                          edit to same (.1); participate in call with T.
                          Burns re same (.2);
9/21/2023 Brian Cawley    Correspond with J. Bair and N. Kuenzi re         0.20     $84.00
                          Section 349 research question (.2);
9/21/2023 Nathan Kuenzi   Research issue as to whether violation of New    0.30    $126.00
                          York public policy constitutes a deceptive
                          practice under Section 349 (.3);
9/21/2023 Timothy Burns   Participate in Zoom mediation session with       3.20   $3,120.00
                          the Diocese (3.0); participate in call with J.
                          Bair re the Committee's Section 349
                          derivative standing reply brief (.2);
9/21/2023 Jesse Bair      Participate in portion of Zoom mediation            2.00   $1,250.00
                          session with the Diocese (2.0);
9/21/2023 Nathan Kuenzi   Analyze case law re approving settlement            2.50   $1,050.00
                          agreements under Rule 9019 and insurer
                          administrative claims in connection with
                          upcoming Section 349 derivative standing oral
                          argument (2.5);
9/22/2023 Jesse Bair      Conference with T. Burns re derivative              0.20    $125.00
                          standing reply brief (.2);
9/22/2023 Nathan Kuenzi   Draft summary memorandum re insurer                 2.00    $840.00
                          administrative claim issues in connection with
                          upcoming Section 349 derivative standing oral
                          argument (2.0);
9/22/2023 Jesse Bair      Begin preparing for Rule 2004 oral argument,        1.20    $750.00
                          including review of relevant case law (1.2);
9/22/2023 Jesse Bair      Edit and finalize the Committee's Section 349       1.00    $625.00
                          derivative standing reply brief (.9);
                          correspondence with PSZJ re same (.1);
9/22/2023 Jesse Bair      Review and respond to additional suggested          0.20    $125.00
                          edits from I. Nasatir re the Committee's
                          Section 349 derivative standing reply brief (.2);
9/22/2023 Timothy Burns   Continue preparing for hearing on the               1.00    $975.00
                          Committee's Section 349 derivative standing
                          motion (.8); conference with J. Bair re
                          derivative standing reply brief (.2);
9/22/2023 Brian Cawley    Correspond with T. Burns regarding derivative       0.20     $84.00
                          standing hearing preparation materials (.2);
9/23/2023 Brian Cawley    Email J. Bair regarding status of Arrowood          0.10     $42.00
                          Delaware insurance action (.1);
9/23/2023 Timothy Burns   Review agenda for upcoming hearing (.1);            4.20   $4,095.00
                          review correspondence from K. Dine to
                          mediators (.1); correspondence with J. Bair re
                          same (.1); continue preparing for Section 349
                          derivative standing hearing (3.9);
9/23/2023 Brian Cawley    Prepare derivative standing hearing                 1.10    $462.00
                          preparation materials for T. Burns (1.1);
9/23/2023 Jesse Bair      Continue preparing for Rule 2004 oral               3.00   $1,875.00
                          argument, including reviewing relevant case
                          law, exhibits, and Delaware regulatory orders
                          (3.0);
9/24/2023 Jesse Bair      Review the mediators' status report (.1);           0.10      $62.50
9/24/2023 Timothy Burns   Continue preparing for Section 349 derivative       4.20   $4,095.00
                          standing hearing (4.2);
9/24/2023 Jesse Bair      Correspondence with T. Burns re Diocese's           0.10     $62.50
                          lack of response to email re potential
                          resolution of Section 349 motion (.1);
9/24/2023 Jesse Bair      Continue preparing for Rule 2004 oral               2.70   $1,687.50
                          argument, including reviewing relevant case
                          law, exhibits, and drafting outline re same
                          (2.7);
9/24/2023 Jesse Bair      Review agenda for the 9/26 hearing (.1);            0.10     $62.50
9/25/2023 Timothy Burns   Continue preparing for Section 349 derivative       5.40   $5,265.00
                          standing hearing (5.0); conference with J. Bair
                          re same and Arrowood 2004 motion (.4);
9/25/2023 Jesse Bair      Travel to New York from Madison for insurance       4.20   $1,312.50
                          hearing and mediation [billed at 1/2 travel rate]
                          (4.2);
9/25/2023 Jesse Bair      Participate in conference with T. Burns re          0.40    $250.00
                          insurance strategy for upcoming hearings and
                          mediation (.4);
9/25/2023 Timothy Burns   Travel to New York from Madison for insurance       4.00   $1,950.00
                          hearing and mediation [billed at 1/2 travel rate]
                          (4.0);
9/25/2023 Jesse Bair      Additional analysis re recent report from the       0.10     $62.50
                          mediators (.1);
9/25/2023 Brian Cawley    Research ability of insurers to file Plan in        1.30    $546.00
                          bankruptcy (1.3);
9/25/2023 Jesse Bair      Continue preparing for Rule 2004 oral               1.60   $1,000.00
                          argument (1.6);
9/26/2023 Jesse Bair      Correspondence with PSZJ and T. Burns re            0.10     $62.50
                          logistics for upcoming mediation session (.1);
9/26/2023 Jesse Bair      Participate in hearing re the Arrowood 2004         3.10   $1,937.50
                          motion, Committee derivative standing motion,
                          and case status conference (1.8); participate
                          in post-hearing conference with Debtor's
                          counsel re outcome of same (.3); participate in
                          post-hearing meeting with PSZJ re same and
                          next-steps (.2); participate in post-hearing call
                          with state court counsel re same (.4);
                          participate in post-hearing conference with T.
                          Burns re hearing outcome, follow-up, and
                          strategy for meet and confer with Arrowood
                          (.4);
9/26/2023 Jesse Bair      Continue preparing for hearing on the               1.30    $812.50
                          Arrowood 2004 motion (1.3);
9/26/2023 Timothy Burns   Continue preparing for Section 349 derivative       6.40   $6,240.00
                          standing hearing (3.3); participate in hearing
                          on same, Arrowood 2004 motion, and
                          omnibus status conference (1.8); participate in
                          post-hearing conference with Debtor's counsel
                          re hearing outcome (.3); participate in post-
                          hearing meeting with PSZJ re same (.2);
                          participate in post-hearing call with state court
                          counsel re same (.4); participate in post-
                          hearing conference with J. Bair re hearing
                          outcome, follow-up, and strategy for meet and
                          confer with Arrowood (.4);
9/26/2023 Jesse Bair      Review and respond to correspondence with           0.50    $312.50
                          Arrowood and I. Nasatir re meet and confer re
                          the Court's Rule 2004 ruling (.2); begin
                          preparing for meet and confer with Arrowood
                          (.3);
9/27/2023 Timothy Burns   Prepare for meet and confer with Arrowood          8.00   $7,800.00
                          (.8); attended same and subsequent calls with
                          Arrowood re same (3.3); attended hearing (.8);
                          participate in portion of in-person mediation
                          session (3.1);
9/27/2023 Jesse Bair      Participate in supplemental hearing with Judge     0.80    $500.00
                          Glenn re Arrowood 2004 discovery issues (.8);
9/27/2023 Jesse Bair      Prepare for meet and confer with Arrowood          0.60    $375.00
                          (.6);
9/27/2023 Timothy Burns   Return travel to Madison from New York [billed     5.20   $2,535.00
                          at 1/2 travel rate] (5.2);
9/27/2023 Brian Cawley    Participate in portion of mediation session via    3.10   $1,302.00
                          Zoom (2.7); draft summary of notes of
                          mediation (.4);
9/27/2023 Jesse Bair      Participate in in-person meet and confer with      3.30   $2,062.50
                          Arrowood, including follow-up telephone
                          conferences re potential resolution of
                          discovery issues (3.3);
9/27/2023 Jesse Bair      Participate in portion of in-person mediation      3.10   $1,937.50
                          session (3.1);
9/27/2023 Jesse Bair      Return travel to Madison from New York [billed     5.60   $1,750.00
                          at 1/2 travel rate] (5.6);
9/28/2023 Jesse Bair      Review correspondence from the mediators re        0.10     $62.50
                          October mediation sessions (.1);
9/28/2023 Jesse Bair      Review correspondence from B. Michael re           0.10     $62.50
                          transfer settlements (.1);
9/28/2023 Timothy Burns   Review correspondence with the mediators           0.30    $292.50
                          and PSZJ re mediation (.1); review
                          correspondence with J. Bair and the Diocese
                          re Arrowood Rule 2004 meet and confer (.1);
                          review J. Bair correspondence with the
                          Diocese re meet and confer re consent to
                          settle partial summary judgment motions (.1);
9/28/2023 Jesse Bair      Review and respond to correspondence with          0.20    $125.00
                          the Diocese re Arrowood 2004 issues and
                          meet and confer re proposed partial summary
                          judgment motions (.2);
9/29/2023 Jesse Bair      Review B. Michael correspondence with state        0.10     $62.50
                          court counsel re case update and
                          developments (.1);
9/29/2023 Jesse Bair      Prepare for call with Reed Smith re case           1.20    $750.00
                          insurance issues (.2); participate in conference
                          with Reed Smith and T. Burns re same (.8);
                          participate in post-conference meeting with T.
                          Burns re outcome of same and potential next-
                          steps (.2)
9/29/2023 Timothy Burns   Participate in conference with Reed Smith and      1.00    $975.00
                          J. Bair re case insurance issues (.8);
                          participate in post-conference meeting with J.
                          Bair re outcome of same and potential next-
                          steps (.2)
9/29/2023 Jesse Bair      Review Interstate letter to the Court re          0.10       $62.50
                          Interstate's improper disclosure of survivor
                          information (.1);
9/30/2023 Timothy Burns   Research and analysis re insurance neutrality     0.80      $780.00
                          issues re Plan drafting (.8);
Total Hours and Fees                                                       296.20 $182,575.75

                                     EXPENSES


Date                      Description                                                Amount
9/11/2023                 United Airlines, T. Burns (MSN-EWR Sept. 11-               $832.40
                          13)
9/11/2023                 Delta Airlines, J. Bair (MSN-LGA Sept. 11-12)              $976.40
9/17/2023                 Uber, T. Burns (airport to hotel)                          $175.78
9/17/2023                 Delta Airlines, J. Bair (MSN-LGA, Sept. 17-21)             $967.10
9/17/2023                 Hotel, T. Burns (3 nights)                                $2,181.00
9/17/2023                 Travel meal, T. Burns                                         $8.73
9/17/2023                 United Airlines, T. Burns (MSN-EWR, Sept. 17-              $701.95
                          22)
9/17/2023                 Travel meal, J. Bair                                         $15.91
9/17/2023                 Hotel, J. Bair (3 nights)                                 $2,181.00
9/18/2023                 Travel meal, T. Burns                                        $11.90
9/18/2023                 Travel meal, T. Burns                                         $1.50
9/18/2023                 Travel meal, J. Bair                                          $9.19
9/18/2023                 Travel meal, J. Bair                                         $16.28
9/18/2023                 Travel meal, T. Burns                                         $5.84
9/18/2023                 Taxi, J. Bair and T. Burns                                   $62.71
9/18/2023                 Travel meal, T. Burns                                         $2.62
9/19/2023                 Travel meal, J. Bair                                         $18.32
9/19/2023                 Travel meal, T. Burns                                        $18.84
9/19/2023                 Travel meal, J. Bair                                         $20.71
9/19/2023                 Travel meal, J. Bair                                          $5.63
9/19/2023                 Travel meal, T. Burns                                         $9.79
9/19/2023                 Travel meal, T. Burns                                         $4.12
9/19/2023                 Travel meal, T. Burns                                        $12.00
9/19/2023                 Airport parking, J. Bair                                     $28.00
9/19/2023                 Uber, T. Burns (mediation to airport)                        $97.84
9/19/2023                 Uber, J. Bair (mediation to airport)                       $157.29
9/20/2023                 Delta Airlines Wi-Fi Onboard, J. Bair                        $15.95
9/20/2023                 Uber, T. Burns                                              $117.40
9/25/2023                 Delta, J. Bair (MSN-LGA, Sept. 25-28)                     $1,217.80
9/25/2023                 Hotel, J. Bair (3 nights)                                 $2,409.00
9/25/2023                 Taxi, J. Bair (airport to hotel)                             $93.35
9/25/2023                 United Airlines, T. Burns (MSN-EWR Sept. 25-              $1,049.80
                          28)
9/25/2023                 Hotel, T. Burns (3 nights)                                $2,409.00
9/25/2023             Travel meal, T. Burns                                       $4.49
9/25/2023             Travel meal, J. Bair                                       $22.76
9/25/2023             Uber, T. Burns (airport to hotel)                         $140.84
9/25/2023             Delta Airlines Wi-Fi Onboard, J. Bair                       $4.95
9/26/2023             Travel meal, J. Bair                                       $20.90
9/26/2023             Travel meal, J. Bair                                       $27.71
9/26/2023             Travel meal, T. Burns                                      $19.54
9/26/2023             Uber, J. Bair and T. Burns (hotel to courthouse)           $31.63
9/26/2023             FedEx pkg. to T. Burns (binder)                           $159.42
9/27/2023             Airport parking, T. Burns                                  $30.00
9/27/2023             Travel meal, T. Burns                                      $26.72
9/27/2023             Uber, T. Burns (hotel to airport)                         $173.84
9/27/2023             Travel meal, T. Burns                                      $24.36
9/27/2023             Uber, J. Bair (hotel to airport)                          $167.68
9/27/2023             Airport parking, J. Bair                                   $30.00
9/27/2023             Travel meal, J. Bair                                       $25.50
9/28/2023             Delta Airlines, Wi-Fi Onboard, J. Bair                     $15.95
Total Expenses                                                               $16,761.44


                           Timekeeper Summary
Name                     Title                   Hours             Rate         Amount
Brenda Horn-Edwards      Paralegal                  0.70       $360.00          $252.00
Brian Cawley             Associate                69.70        $420.00       $29,274.00
Jesse Bair               Partner                  21.50        $312.50        $6,718.75
Jesse Bair               Partner                  85.20        $625.00       $53,250.00
Karen Dempski            Paralegal                  1.40       $360.00          $504.00
Nathan Kuenzi            Associate                23.10        $420.00        $9,702.00
Timothy Burns            Partner                  19.20        $487.50        $9,360.00
Timothy Burns            Partner                  75.40        $975.00       $73,515.00



                                                     Total Due This Invoice: $199,337.19
